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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

                                                  )
ROBERT BENEDICT,                                  )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )      Case No. 3:17CV109
                                                  )
HANKOOK TIRE COMPANY LIMITED, and                 )
HANKOOK TIRE AMERICA CORPORATION,                 )
                                                  )
                                                  )
                     Defendants.                  )
                                                  )


    HANKOOK TIRE COMPANY LIMITED’S AND HANKOOK TIRE AMERICA
          COMPANY’S MOTION TO EXCLUDE TESTIMONY OF
               PLAINTIFF’S EXPERT DAVID SOUTHWELL

       Defendants Hankook Tire Company Limited and Hankook Tire America Company

(“Hankook”), by counsel, and pursuant to Rule 702 of the Federal Rules of Evidence, move to

exclude the testimony of Plaintiff’s tire expert, David Southwell. The facts and argument in

support of this motion are set forth in the accompanying memorandum.

October 20, 2017

                                   Respectfully submitted,

                                   HANKOOK TIRE AMERICA CORPORATION and
                                   HANKOOK TIRE COMPANY LIMITED

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of October, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following:

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